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                           IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


ANDREW H. STEVENS, et al.                            :
                                                     :
        Plaintiffs,                                  :        Case No. 2:20-cv-01230
                                                     :
v.                                                   :        Judge Marbley
                                                     :
CITY OF COLUMBUS, OHIO, et al.                       :        Magistrate Judge Deavers
                                                     :
        Defendants.                                  :

          DEFENDANTS CITY OF COLUMBUS AND TIMOTHY J. NOLL’S
               MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
    MOTION TO CERTIFY IMPORTANT QUESTIONS OF STATE CONSTITUTIONAL
                    LAW TO THE OHIO SUPREME COURT

        Defendants City of Columbus (the City) and Timothy J. Noll (Noll), by counsel, respond

as follows in opposition to Plaintiffs’ Motion to Certify Important Questions of State

Constitutional Law to the Ohio Supreme Court. (Doc. 23)1

        Plaintiffs Andrew H. Stevens and Melanie Copenhaver (Plaintiffs) seek to have the

following questions certified to the Ohio Supreme Court:

        1.       Does a municipality exceed the limits of the Ohio Constitution when it
                 criminalizes vague conduct such as maintaining “incompatible” or
                 “inappropriate” landscaping on one’s own property, particularly when application
                 of such standards is delegated to non-governmental actors and the burden is
                 placed on the property owner to prove compliance with those standards?

        2.       Does a municipality exceed the limits of the Ohio Constitution when it, to
                 advance a governmental interest in historic preservation, requires that all exterior
                 alterations of private property be pre-approved by non-governmental actors,
                 whether pursuant to a vague standard or otherwise?

        “The certification procedure . . . allows a federal court faced with a novel state-law

question to put the question directly to the State’s highest court . . .” Jones v. Coleman, 848 F.

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  The City is not waiving service of process by filing this memorandum in opposition. The Court’s docket does not
reflect that service has been made and the City has no record of service.


                                                         1
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3d 744, 750 (6th Cir. 2017). Ohio Supreme Court Practice Rule 9.01 states “[t]he Supreme

Court may answer a question of law certified to it by a court of the United States. This rule is

invoked if the certifying court, in a proceeding before it, issues a certification order finding there

is a question of Ohio law that may be determinative of the proceeding and for which there is no

controlling precedent in the decisions of this Supreme Court.” Id., citing Scott v. Bank One Trust

Co., N.A., 62 Ohio St.3d 39, 46 (1991).

           Plaintiffs’ proposed questions for certification are based on their allegations that certain

words in the Columbus City Code are vague.              For instance, Plaintiffs claim that they do not

understand the meaning of the words “incompatible” and “inappropriate.” Claiming ignorance

of the meaning of certain words in the Columbus City Code is not sufficient grounds for

certifying Plaintiffs’ proposed questions to the Ohio Supreme.               Plaintiffs also have not

demonstrated that their questions would be outcome-determinative of this proceeding.

           Based on the foregoing, Defendants request that the Court deny Plaintiffs’ motion to

certify.


                                         Respectfully submitted,

                                         CITY OF COLUMBUS, DEPARTMENT OF LAW
                                         ZACH KLEIN, CITY ATTORNEY

                                         s/ Janet R. Hill Arbogast
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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was filed electronically on July 1, 2020. Notice of this

filing will be sent to all parties by operation of the Court’s electronic filing system. Parties may

access this filing through the Court’s system.


                                              s/ Janet R. Hill Arbogast
                                              Janet R. Hill Arbogast
                                              Assistant City Attorney




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